                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                        )       COLLIER/CARTER
                                                )
        v.                                      )       CASE NO. 1:12-CR-65
                                                )
KEVIN DAWSON                                    )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on September 12,

2012. At the hearing, defendant entered a plea of guilty to Counts One, Fourteen, Fifteen, and

Sixteen of the Indictment in exchange for the undertakings made by the government in the written

plea agreement. On the basis of the record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Counts One, Fourteen, Fifteen, and

Sixteen of the Indictment be accepted, that the Court adjudicate defendant guilty of the charges set

forth in Counts One, Fourteen, Fifteen, and Sixteen of the Indictment, and the written plea

agreement be accepted at the time of sentencing. I further recommend that defendant remain on

bond, under the current bond conditions, pending sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.

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       The defendant=s sentencing date is scheduled for Thursday, January 10, 2013, at 9:00

am.


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                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




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